46 F.3d 1131
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.William E. OTTMAN; Kristen Ottman, Plaintiffs - Appellants,v.Adelbert J. CLAYMAN, individually and as Police Office ofthe Village of Mantua; Village of Mantua,Defendants - Appellees.
    No. 94-3067.
    United States Court of Appeals, Sixth Circuit.
    Feb. 6, 1995.
    
      1
      Before:  MERRITT, Chief Judge; BATCHELDER, Circuit Judge; BERTELSMAN, Chief District Judge*
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    
      
        *
         The Honorable William O. Bertelsman, United States Chief District Judge for the Eastern District of Kentucky, sitting by designation
      
    
    